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     6
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     7
     8                               UNITED STATES DISTRICT COURT
     9                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11      CONSTRUCTION LABORERS                          CASE NO.:
           TRUST FUNDS FOR SOUTHERN
   12      CALIFORNIA ADMINISTRATIVE
           COMPANY, a Delaware limited                    COMPLAINT FOR:
   13      liability company,
                                                          1. MONETARY DAMAGES OF
   14                                                        UNPAID FRINGE BENEFIT
                               Plaintiff,                    CONTRIBUTIONS AND
   15                                                        RELATED DAMAGES DUE TO
                         v.                                  EMPLOYEE BENEFIT PLANS;
   16                                                     2. SPECIFIC PERFORMANCE
                                                             OF OBLIGATION TO
   17      KINETIC SAWING & CORING, INC.,                    PRODUCE RECORDS FOR
           a California corporation; INTERSTATE              AUDIT;
   18      CONCRETE CUTTING, INC., a                      3. INJUNCTIVE RELIEF
           California corporation; JULIO SOTO                COMPELLING SUBMISSION
   19      JR., an individual; JOSE LUIS                     OF FRINGE BENEFIT
           HERNANDEZ, an individual;                         CONTRIBUTIONS TO
   20      HUDSON INSURANCE COMPANY,                         EMPLOYEE BENEFIT PLANS;
           a Delaware corporation; DOE 1 through          4. FOR BREACH OF FIDUCIARY
   21      DOE 5, inclusive.                                 DUTIES;
                                                          5. BREACH OF SETTLEMENT
   22                                                        AGREEMENT;
                                                          6. RECOVERY AGAINST
   23                          Defendants.                   LICENSE BOND
   24
   25                                                     [29 U.S.C. §§ 1132(g)(2) and 1145;
                                                          29 U.S.C. § 1132(a)(3); 29 U.S.C.
   26                                                     § 185, 28 U.S.C. § 1367(a)]

   27
                 Plaintiff, Construction Laborers Trust Funds for Southern California
   28
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     1     Administrative Company, a Delaware limited liability company, alleges:
     2
     3                                        INTRODUCTION
     4
     5           1.    This action is brought by a fiduciary administrator on behalf of employee
     6     benefit plans against employers in accordance with the terms and conditions of the
     7     plans, collective bargaining agreements to which the employer is bound and
     8     applicable statutes to: (1) recover unpaid monthly employee fringe benefit
     9     contributions and related damages due to the plans by the employers (Claim 1);
   10      (2) compel the employers to produce records for an audit to determine if additional
   11      amounts are due (Claim 2); (3) to compel the employers to timely and fully report
   12      and pay its monthly fringe benefit contributions to the plans on behalf of their
   13      employees (Claim 3); (4) for breach of fiduciary duties to the plans; (5) for breach of
   14      a settlement agreement (Claim 5); and (6) to recover against a license bond surety
   15      pursuant to state law (Claim 6).
   16
   17                                 JURISDICTION AND VENUE
   18
   19            2.    This Court has jurisdiction pursuant to: sections 502(g)(2) and 515 of the
   20      Employee Retirement Income Security Act (ERISA) (codified at 29 U.S.C. §§
   21      1132(g)(2) and 1145); section 502(a)(3) of ERISA (codified at 29 U.S.C. §
   22      1132(a)(3)); and section 301 of the Labor Management Relations Act (LMRA)
   23      (codified at 29 U.S.C. § 185). This Court has supplemental jurisdiction under 28
   24      U.S.C. § 1367(a) over the Fifth and Sixth Claims arising under California law, as all
   25      claims arise from a common core of transactions, and seek payment of overlapping
   26      damages. Pursuant to section 502(e)(2) of ERISA (codified at 29 U.S.C. §
   27      1132(e)(2)), venue is proper in this district in that the plans are administered in this
   28      district; the employer's performance and breaches took place in this district; and the
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     1     employers reside or can be found in this district.
     2
     3                                            PARTIES
     4
     5          3.     Plaintiff ( also referred to as "CLTF") is an administrator of, agent for
     6     collection for, a fiduciary to, and brings this action on behalf of, the following
     7     employee benefit plans: Laborers Health And Welfare Trust Fund For Southern
     8     California, Construction Laborers Pension Trust For Southern California,
     9     Construction Laborers Vacation Trust For Southern California, Laborers Training
   10      And Re-Training Trust Fund For Southern California, Fund For Construction
   11      Industry Advancement, Center For Contract Compliance, Laborers Contract
   12      Administration Trust Fund For Southern California, Laborers' Trusts Administrative
   13      Trust Fund For Southern California and Southern California Partnership For Jobs
   14      Trust Fund; San Diego County Construction Laborers Pension Trust Fund, San
   15      Diego Construction Advancement Fund 2003, and Southern California Partnership
   16      For Jobs Trust Fund (collectively "TRUST FUNDS"). Each of the TRUST FUNDS
   17      is an express trust created by written agreement, an employee benefit plan within the
   18      meaning of section 3(3) of ERISA (29 U.S.C. § 1002(3)), and a multi-employer plan
   19      within the meaning of section 3(37)(A) of ERISA (29 U.S.C. § 1002(37)(A)). Each
   20      of the TRUST FUNDS exists pursuant to ERISA and section 302 of the LMRA
   21      (29 U.S.C. § 186). CLTF and the TRUST FUNDS' principal places of business are in
   22      the County of Los Angeles, State of California.
   23           4.     Plaintiff is informed and believes, and on that basis alleges, that
   24      defendant KINETIC SAWING & CORING, INC. (“KINETIC”) is a corporation
   25      organized and existing under, and by virtue of, the laws of the State of California that
   26      has its principal place of business in the City of Riverside, County of Riverside, State
   27      of California and which does and at relevant times did business in the State of
   28      California as a construction contractor in an industry affecting interstate commerce.
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     1           5.     Plaintiff is informed and believes, and on that basis alleges, that
     2     defendant INTERSTATE CONCRETE CUTTING, INC. (“INTERSTATE.”) is a
     3     corporation organized and existing under, and by virtue of, the laws of the State of
     4     California that has its principal place of business in the City of Riverside, County of
     5     Riverside, State of California and which does and at relevant times did business in the
     6     State of California as a construction contractor in an industry affecting interstate
     7     commerce.
     8           6.     Plaintiff is informed and believes, and on that basis alleges, that
     9     defendant, JOSE LUIS HERNANDEZ, (“HERNANDEZ”) is an individual who is
   10      engaged in business in the City of Riverside, County of Riverside, State of California
   11      was and still is the principal and responsible managing officer of KINETIC, and who
   12      was, during time periods mentioned herein below, the qualifying officer for the
   13      contractors state licenses issued to KINETIC, and INTERSTATE, and who was the
   14      chief executive officer and responsible managing officer, and principal of
   15      INTERSTATE, and did business in California as a construction contractor under
   16      KINETIC and INTERSTATE in an industry affecting interstate commerce.
   17            7.     Plaintiff is informed and believes, and on that basis alleges, that
   18      defendant, JULIO SOTO, JR. (“SOTO”) is an individual who is engaged in business
   19      in the City of Riverside, County of Riverside, State of California and was and still is
   20      the principal, chief executive officer and responsible managing officer of
   21      INTERSTATE, and who, during relevant times mentioned hereinbelow, was the chief
   22      executive officer and principal of KINETIC, and did business in California as a
   23      construction contractor under KINETIC and INTERSTATE in an industry affecting
   24      interstate commerce.
   25            8.     Plaintiff is informed and believes and thereupon alleges that defendant,
   26      HUDSON INSURANCE COMPANY (“HUDSON”) is a Delaware corporation,
   27      licensed and authorized to perform and transact a surety business in the State of
   28      California, with its principal place of business in the City of New York, State of New
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     1     York.
     2             9.    The true names and capacities, whether individual, corporate, associate,
     3     or otherwise of defendants named herein as DOE 1 through DOE 5, inclusive are
     4     unknown to CLTF, who therefore sue said defendants by such fictitious names, and
     5     CLTF will amend this Complaint to show their true names and capacities when the
     6     same have been ascertained.
     7
     8                               INDIVIDUAL DEFENDANTS
     9
   10              10.    Plaintiff is informed and believes and thereon alleges that at all times
   11      material herein, that HERNANDEZ, SOTO, and or DOE 1 through DOE 5, inclusive,
   12      were and/or continue to be fiduciaries and/or parties in interest to the TRUST FUNDS
   13      as defined in 29 U.S.C. §§ 1002(14), and 1002(21)(A), for the reasons more fully
   14      described below and in the Fourth Claim for Relief.
   15              11.   Plaintiff is informed and believes and thereon alleges that
   16      HERNANDEZ, SOTO and/or DOE 1 through DOE 5, inclusive, during times periods
   17      where amounts are claimed against KINETIC and INTERSTATE, were or still are
   18      jointly responsible for running the day to day operations of KINETIC and
   19      INTERSTATE and were and/or are responsible for decisions pertaining to the
   20      reporting and payment of contributions to the TRUST FUNDS, and that they
   21      personally maintained control of those funds which should have been turned over to
   22      the TRUST FUNDS.
   23              12.   Plaintiff is informed and believes and thereon alleges that at all times
   24      herein, HERNANDEZ, SOTO and/or DOE 1 through DOE 5, inclusive during times
   25      periods where amounts are claimed against KINETIC and INTERSTATE, were or are
   26      the majority shareholders of KINETIC and INTERSTATE and beneficial owners of
   27      KINETIC and INTERSTATE.
   28              13.   Plaintiff is informed and believes and thereon alleges that
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     1     HERNANDEZ, SOTO and/or DOE 1 through DOE 5, inclusive during times periods
     2     where amounts are claimed against KINETIC and INTERSTATE acted on behalf of
     3     and in the interest of KINETIC and INTERSTATE in all aspects of labor relations,
     4     dealings with employees, their assignment of work, and rates of compensation, in
     5     determining which employees KINETIC would report to the TRUST FUNDS, the
     6     number hours upon which contributions would be reported to the TRUST FUNDS and
     7     in dealings and relations with the TRUST FUNDS, and/or the UNION.
     8
     9                                       AGREEMENTS
   10
   11            14.   KINETIC is, and at all relevant times was (including from at least since
   12      December 1, 2012), bound to certain collective bargaining agreements of the
   13      Southern California District Council of Laborers and its affiliated local Unions
   14      (collectively "Laborers Union") known as the Construction Master Labor
   15      Agreements, including ones known as the Southern California Master Labor
   16      Agreement and the AGC Master Labor Agreements.
   17            15.   Pursuant to the Construction Master Labor Agreements, employers
   18      become – and KINTETIC became – bound to the terms and conditions of the various
   19      trust agreements that created each of the TRUST FUNDS ("Trust Agreements").
   20      When referenced collectively hereinafter, the Construction Master Labor Agreements
   21      and Trust Agreements are referred to as "the Agreements."
   22            16.   Plaintiff is informed and believes, and on that basis alleges that SOTO
   23      formed INTERSTATE and KINETIC, and has controlled aspects of the operation of
   24      both INTERSTATE and KINETIC, jointly with HERNANDEZ.
   25            17.   Plaintiff is informed and believes, and on that basis alleges, that both
   26      INTERSTATE and KINETIC, whether portrayed as INTERSTATE or KINETIC
   27      provided the same services with the same or essentially the same work force under
   28      the same working conditions, using the same machinery, equipment, and methods of
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     1     production, the same supervisors and conducted their business from the same
     2     physical location. Plaintiff is further informed and believes, and on that basis alleges,
     3     that there exists, and at all times existed, a substantial continuity of the business
     4     operations of KINETIC’S and INTERSTATE’S businesses such that recognition of
     5     any individuality and separateness between them promotes and perpetuates a fraud
     6     upon and/or promotes injustices to their employees and creditors, including the
     7     TRUST FUNDS.
     8          18.    Based on information and belief, including the allegations set forth
     9     herein, Plaintiff is informed and believes, and on that basis alleges, that both
   10      KINETIC and INTERSTATE are bound to the terms of the Agreements and jointly
   11      and severally liable for the obligations and debts of both, including those arising from
   12      the Agreements (and specifically those related to the TRUST FUNDS), because they
   13      are not separate entities, but are a single business, joint employers, alter egos of each
   14      other. In addition, the MLA specifically provides that: “Each individual contractor,
   15      whether corporate or other legal entity, or its successor, shall be liable under, subject
   16      to and bound by this Agreement”; and that for purposes of delinquency to the TRUST
   17      FUNDS, a contractor bound to the Agreement includes "all entities of the delinquent
   18      contractor, change of name, or change of entity, provided that the delinquent
   19      contractor holds at least ten (10%) percent ownership in the [second] entity." Based
   20      on the allegations regarding the relationship between HERNANDEZ, SOTO,
   21      KINETIC and INTERSTATE set forth herein, Plaintiff alleges that KINETIC and
   22      INTERSTATE are also jointly and severally liable for the obligations of both under
   23      the terms of the Agreements (and specifically those related to the TRUST FUNDS).
   24      Based on the allegations of joint and several liability set forth herein, KINETIC and
   25      INTERSTATE are referred to collectively hereinafter as "the EMPLOYERS."
   26           19.    Under the terms of the Agreements, employers, including the
   27      EMPLOYERS, are required to submit monthly fringe benefit contributions
   28      ("Monthly Contributions") to each of the TRUST FUNDS on behalf of their
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     1     employees for each hour worked by (or paid for) them for work covered by the
     2     Agreements ("Covered Work").
     3          20.    Under the terms of the Agreements, employers, including the
     4     EMPLOYERS, are required to submit to the TRUST FUNDS, with their Monthly
     5     Contributions, monthly reports, itemized by project, listing the names of their
     6     employees who performed Covered Work, their Social Security numbers, the hours
     7     of Covered Work performed by each, and the resulting Monthly Contributions due
     8     for each ("Monthly Reports"). The TRUST FUNDS rely on Monthly Reports – and
     9     the accuracy of those reports – to determine the amount of Monthly Contributions
   10      due to the TRUST FUNDS by employers and the credit toward fringe benefits to be
   11      allocated to their employees.
   12           21.    The Agreements provide for the payment of interest on delinquent
   13      Monthly Contributions from the date due at a rate set by the trustees of the TRUST
   14      FUNDS. The trustees have set that rate at five percent (5%) above the prime rate set
   15      by the Federal Reserve Board of San Francisco, California. The Agreements also
   16      provide for the payment of liquidated damages for each month of delinquent Monthly
   17      Contributions or Monthly Reports, for each Trust Fund separately, in the amount of
   18      twenty percent (20%) of the delinquent Monthly Contributions due to the Trust Fund
   19      or $25, whichever is greater (except with respect to the Laborers Contract
   20      Administration Trust Fund for Southern California, which assesses liquidated
   21      damages at the greater of $20 or ten percent (10%)). In addition, employers are
   22      required to pay fees for the submission of checks not honored by the banks upon
   23      which they are drawn.
   24           22.      The failure of employers to pay Monthly Contributions when due
   25      causes damages to the TRUST FUNDS and its participants beyond the value of the
   26      unpaid Monthly Contributions, which are difficult to quantify. Apart from the fees
   27      and costs incurred in litigation, the harm caused includes the cost of collecting the
   28      Monthly Contributions from employers or third parties, the cost of special processing
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     1     to restore employee fringe benefit credits because of late Monthly Contributions,
     2     employee loss of health insurance coverage (even if later restored) and medical harm
     3     to participants and beneficiaries who might have foregone medical care when notified
     4     that their insurance ceased because of their employer's failure to pay Monthly
     5     Contributions. The liquidated damages provision of the Agreements was meant to
     6     compensate for the loss to the TRUST FUNDS, which is incurred even if the
     7     Monthly Contributions for a given month are later paid. It is based on the TRUST
     8     FUNDS' ratio of collection costs over amounts collected, which are regularly reported
     9     to the TRUST FUNDS' trustees.
   10           23.     Under the terms of the Agreements, employers, including the
   11      EMPLOYERS, agree to subcontract Covered Work only to entities that are signatory
   12      to a Construction Master Labor Agreement applicable to the work performed. If an
   13      employer subcontracts Covered Work to a non-signatory entity, or allows a
   14      subcontractor to subcontract Covered Work to a non-signatory entity, the employer
   15      becomes liable to the TRUST FUNDS in at least an amount equal to the Monthly
   16      Contributions, interest and liquidated damages that would have been due if a
   17      signatory entity had performed the Covered Work.
   18           24.     Under the terms of the Agreements, employers, including the
   19      EMPLOYERS, agree not to subcontract Covered Work to entities that are delinquent
   20      to the TRUST FUNDS or to allow lower-tier subcontractors to perform Covered
   21      Work if they are so delinquent. If an employer subcontracts Covered Work to an
   22      entity that is delinquent in its Monthly Reports or Monthly Contributions to the
   23      TRUST FUNDS, or allows a lower-tier subcontractor that is so delinquent to perform
   24      Covered Work, the employer becomes under the terms of the Agreements liable to
   25      the TRUST FUNDS for the Monthly Contributions due by the delinquent
   26      subcontractor and any delinquent lower-tier subcontractors.
   27           25.     The Agreements provide the TRUST FUNDS with specific authority to
   28      examine the payroll and business records of employers, including the EMPLOYERS,
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     1     to determine whether they have reported all hours worked by (or paid for) their
     2     employees who perform Covered Work, and whether they have paid the appropriate
     3     Monthly Contributions and other amounts due by them to the TRUST FUNDS. The
     4     Agreements further provide that employers, including the EMPLOYERS, shall pay
     5     the TRUST FUNDS' audit fees if they are delinquent to the TRUST FUNDS. The
     6     TRUST FUNDS have delegated the authority to perform such audits to Plaintiff.
     7          26.       The Agreements require employers to pay the TRUST FUNDS'
     8     attorneys’ fees and costs of litigation to enforce the Agreements' foregoing terms,
     9     including the Monthly Contribution, Monthly Reporting, subcontracting and audit
   10      provisions.
   11
   12                                  FIRST CLAIM FOR RELIEF
   13           (For Monetary Damages of Unpaid Fringe Benefit Contributions and
   14                        Related Damages Due to Employee Benefit Plans)
   15
   16           27.      Plaintiff repeats, realleges and incorporates by reference each and every
   17      allegation contained in paragraphs 1 through 26 above as if fully set forth here.
   18           28.      The EMPLOYERS have failed to submit Monthly Contributions due by it
   19      to the TRUST FUNDS. The EMPLOYERS owe the TRUST FUNDS a known
   20      amount of $276, 535.57 for unpaid or late-paid Monthly Contributions and related
   21      damages, for amounts disclosed by audits of KINETIC’S records for unreported
   22      hours worked by employees and subcontracting violations (“Known Delinquency”),
   23      pursuant to the Agreements and sections 502(g)(2) and 515 of ERISA (29 U.S.C. §§
   24      1132(g)(2) and 1145). The Known Delinquency consists of the following amounts
   25      due for time periods covering November 2016 to February 2019: $91,749.05 in
   26      unpaid Monthly Contributions; $35,503.73 in liquidated damages; $127,109.71 in
   27      subcontracting violations, $19,148.08 in interest through March 28, 2019; $105.00 in
   28      checks returned by the bank for insufficient funds; and $2,920.00 in audit fees.
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     1          29.    Plaintiff will establish by proof at the time of trial or through dispositive
     2     motion the Known Delinquency and any additional amounts determined to be due to
     3     the TRUST FUNDS by the EMPLOYERS, including any additional Monthly
     4     Contributions, interest, liquidated damages, audit fees, fees for the submission of
     5     checks not honored by the bank upon which they were drawn, attorneys’ fees and
     6     costs, and amounts owed as a result of work performed by subcontractors of the
     7     EMPLOYERS (or lower-tier subcontractors). If deemed necessary by the Court,
     8     Plaintiff will amend its complaint to add any additional amounts determined to be
     9     due. Any and all conditions to the EMPLOYERS’ obligations under the Agreements
   10      to pay the Known Delinquency and any additional amounts due under the
   11      Agreements to the TRUST FUNDS have been met.
   12           30.    Under the terms of the Agreements and section 502(g)(2)(D) of ERISA
   13      (29 U.S.C. § 1132(g)(2)(D)), Plaintiff is entitled to an award of its attorneys’ fees and
   14      costs.
   15
   16                               SECOND CLAIM FOR RELIEF
   17                                  (For Specific Performance of
   18                           Obligation to Produce Records for Audit)
   19
   20           31.    Plaintiff repeats, realleges and incorporates by reference each and every
   21      allegation contained in paragraphs 1 through 30 above as if fully set forth here.
   22           32.    Plaintiff has requested access to the EMPLOYERS payroll and business
   23      records for the purpose of conducting an audit; however, INTERSTATE has failed
   24      and/or refused to allow the TRUST FUNDS a complete audit of its payroll and
   25      business records and KINETIC has failed to produce all records necessary to
   26      determine the full extent of the amounts due by KINETIC to the TRUST FUNDS,
   27           33.    The TRUST FUNDS have no adequate or speedy remedy at law in that
   28      the EMPLOYERS refuse to comply with the audit of all payroll and business records
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     1     to complete the audit and TRUST FUNDS have no other way to determine the
     2     amounts owed by the EMPLOYERS.
     3          34.    Plaintiff requests that the Court exercise its authority under 29 U.S.C.
     4     §§ 1132(g)(2)(E) and 1132(a)(3) to order the EMPLOYERS to comply with their
     5     obligations under the Agreements and ERISA to fully produce their books and
     6     records in order for Plaintiff to complete an audit to determine if additional amounts
     7     are due.
     8          35.    An award of attorneys’ fees and costs is provided for by Agreements and
     9     under sections 502(g)(1) and/or (g)(2) of ERISA (29 U.S.C. § 1132(g)(1) and/or
   10      (g)(2)).
   11
   12                                THIRD CLAIM FOR RELIEF
   13                       (For Injunctive Relief Compelling Submission of
   14                  Fringe Benefit Contributions to Employee Benefit Plans)
   15
   16           36.    Plaintiff repeats, realleges and incorporates by reference each and every
   17      allegation contained in paragraphs 1 through 35 above as if fully set forth here.
   18           37.    The EMPLOYERS have repeatedly failed to timely submit Monthly
   19      Reports and Monthly Contributions, and has refused to comply with complete audits
   20      of their books and records.
   21           38.    By reason of the EMPLOYERS' failure to comply with their Monthly
   22      Reporting and Contribution obligations, the TRUST FUNDS, its participants and/or
   23      its beneficiaries have suffered and will continue to suffer hardship and actual and
   24      impending irreparable injury and damage for at least the following reasons. First,
   25      where Monthly Contributions are due but not paid the TRUST FUNDS lose the use
   26      of the unpaid funds (both for investment and the payment of claims). Second, the
   27      TRUST FUNDS incur substantial costs in the special processing of Monthly
   28      Contributions that are paid, or otherwise recovered, after the date due, in order to
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     1     provide employee fringe benefit credits and restore eligibility. Third, the TRUST
     2     FUNDS incur a liability for pension benefits for employee work even if Monthly
     3     Contributions are not paid and incur liability for health insurance claims for a certain
     4     period of employer non-payment of Monthly Contributions. Fourth, the TRUST
     5     FUNDS have an obligation to take steps to collect amounts due by delinquent
     6     employers. Thus ongoing employer delinquencies result in an ongoing drain on
     7     TRUST FUNDS resources. Fifth, the amount of benefits payable to all participants
     8     and beneficiaries for health insurance and pension claims is actuarially determined on
     9     the basis of funds projected to be received from contributing employers. Employer
   10      delinquencies complicate that determination and result in a reduction of benefits to all
   11      employees. Sixth, employer delinquencies have an intangible effect on the
   12      construction industry as a whole, doing damage to the TRUST FUNDS collection
   13      mechanism; specifically, when it is discovered that one contractor is substantially
   14      delinquent to the TRUST FUNDS, contractors engaged in the same type of work may
   15      feel that they are operating at a competitive disadvantage and withhold their Monthly
   16      Contributions until that competitive disadvantage has been removed. Seventh,
   17      employees are harmed because health insurance is not provided to them and their
   18      dependents after a certain period of non-payment of Monthly Contributions on their
   19      behalf. In addition to loss of health insurance, harm caused to employees can include
   20      medical harm if they forego medical care when notified that insurance ceased because
   21      of their employer's failure to pay Monthly Contributions. Eighth, employees are also
   22      harmed in that they are entitled to vacation pay only for hours of Covered Work for
   23      which Monthly Contributions are paid. Ninth, the TRUST FUNDS have no basis for
   24      providing credits toward eligibility for pensions for unknown hours of Covered
   25      Work. Tenth, Plaintiff is informed and believe that employees are being transferred
   26      between KINETIC and INTERSTATE and the hours worked for INTERSTATE are
   27      not being reported nor Monthly Contributions paid to the TRUST FUNDS on their
   28      behalf, reducing their credits for Health and Welfare and Pension eligibility.
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     1          39.    The TRUST FUNDS have no adequate or speedy remedy at law. They
     2     therefore request that this Court exercise its authority under sections 502(g)(2)(E) and
     3     502(a)(3) of ERISA (29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3)) to issue preliminary
     4     and permanent injunctive relief ordering the EMPLOYERS to comply with their
     5     obligations under the Agreements and section 515 of ERISA (29 U.S.C. § 1145) to
     6     fully disclose its employees’ Covered Work on its Monthly Reports, itemized by
     7     project, and timely submit them each month with full payment of the Monthly
     8     Contributions due.
     9          40.    An award of attorneys’ fees and costs is provided for by Agreements and
   10      under sections 502(g)(1) and/or (g)(2) of ERISA (29 U.S.C. § 1132(g)(1) and/or
   11      (g)(2)).
   12
   13                            FOURTH CLAIM FOR RELIEF
   14                  DAMAGES FOR BREACH OF FIDUCIARY DUTIES
   15                               IN VIOLATION OF ERISA
   16                   (AGAINST EMPLOYERS, HERNANDEZ, SOTO
   17                            AND DOE 1 THROUGH DOE 5)
   18
   19            41.   Plaintiff repeats and realleges and incorporates herein by reference each
   20      and every allegation contained in paragraphs 1 through 40 above.
   21            42.   Plaintiff is informed and believes and thereon alleges that
   22      HERNANDEZ, SOTO and/or DOE 1 to DOE 5, inclusive, were and still are parties in
   23      interest, the agents, managing officers, directors, managing employees, and/or
   24      beneficial owners of the EMPLOYERS with the authority to direct, control, and/or
   25      manage the business affairs of the EMPLOYERS including the disposition of the
   26      EMPLOYERS’ assets.
   27            43.   Plaintiff is informed and believes and thereon allege that the
   28      EMPLOYERS, HERNANDEZ, SOTO and/or DOE 1 to DOE 5, inclusive, were and
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     1     still are fiduciaries with respect to the TRUST FUNDS within the meaning of §
     2     3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), in that they exercised discretionary
     3     authority or control respecting management or disposition of assets of the TRUST
     4     FUNDS.
     5           44.    The Agreements require that the EMPLOYERS deduct Monthly
     6     Contributions due to the CONSTRUCTION LABORERS VACATION TRUST
     7     FUND FOR SOUTHERN CALIFORNIA ("Vacation Fund") from EMPLOYERS
     8     employees' weekly paychecks, in the amounts specified. Such deductions are
     9     "amounts that a participant has withheld from his wages by an employer, for
   10      contribution" to the TRUST FUNDS, which thus become assets of the TRUST
   11      FUNDS within the meaning of 29 C.F.R. § 2510.3-102, "as of the earliest date on
   12      which such contributions . . . can reasonably be segregated from the employer’s
   13      general assets."
   14            45.    On "public works" as defined by California Labor Code § 1720, the
   15      EMPLOYERS were required to pay a minimum "prevailing" or "per diem" wage,
   16      including amounts which could either be paid directly on the weekly paycheck to
   17      employees, or contributed as "employer payments" (as defined in Labor Code §
   18      1773.1) which includes payments to the TRUST FUNDS. The EMPLOYERS
   19      employed workers on such public works, also covered by the Agreements, and
   20      certified under penalty of perjury (pursuant to Labor Code § 1776) that a portion of
   21      the required prevailing wage due such employees would be withheld from their per
   22      diem weekly wage and instead contributed to the TRUST FUNDS, in satisfaction of
   23      the prevailing wage required law. The U.S. Department of Labor has taken the
   24      position that such amounts are "amounts that a participant has withheld from his
   25      wages by an employer, for contribution" to the TRUST FUNDS, which become assets
   26      of the TRUST FUNDS within the meaning of 29 C.F.R. § 2510.3-102, "as of the
   27      earliest date on which such contributions . . . can reasonably be segregated from the
   28      employer’s general assets."
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     1           46.    Plaintiff is informed and believes that, instead of turning over Vacation
     2     Fund contributions and the portions of the prevailing wage the EMPLOYERS certified
     3     was to be paid to the TRUST FUNDS from employees’ weekly paychecks, that
     4     EMPLOYERS, HERNANDEZ, SOTO and/or DOE 1 to DOE 5, inclusive, kept those
     5     amounts for their own use, and did not segregate or turn them over to the TRUST
     6     FUNDS.
     7           47.    Plaintiff is informed and believes that HERNANDEZ, SOTO and/or
     8     DOE 1 to DOE 5, inclusive, are the persons responsible for preparing and issuing
     9     certified payroll reports to public agencies under Labor Code § 1776, and were
   10      responsible for the certification that such amounts would be paid to the TRUST
   11      FUNDS as part of the prevailing wage obligation. Plaintiff is further informed and
   12      believes that HERNANDEZ, SOTO and/or DOE 1 to DOE 5, inclusive, had
   13      discretionary authority or control over sufficient, segregable funds to pay the amounts
   14      certified under penalty of perjury, that would be withheld from employees’ weekly
   15      wages for contribution to the TRUST FUNDS in order to meet prevailing wage
   16      obligations, including the authority to write checks on the accounts in which such
   17      funds were held, but instead kept them for his own use, or for the use of the
   18      EMPLOYERS.
   19            48.    By their discretionary authority or control over the management or
   20      disposition of assets of the TRUST FUNDS, specifically to Vacation Fund as well as
   21      the fringe benefit component of prevailing wages on public works, described above,
   22      EMPLOYERS, HERNANDEZ, SOTO and/or DOE 1 to DOE 5, inclusive, are
   23      fiduciaries of the TRUST FUNDS within the meaning of section 3(21)(A) of ERISA,
   24      29 U.S.C. § 1002(21)(A).
   25            49.    The amount of the delinquent Monthly Contributions referenced herein
   26      above relating to public works projects and the Vacation Fund were and still are due
   27      and owing to the TRUST FUNDS and are assets of the TRUST FUNDS within the
   28      meaning 29 U.S.C. §§ 1001-1003, 1021-1031, 1111-1114 and 18 U.S.C. § 664. The
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     1     Vacation Fund amount and the amount of Monthly Contributions referenced herein
     2     above will be proven at the time of trial or other hearing, plus interest at the plan
     3     rate(s).
     4            50.   By failing to timely account for and turn over the assets of the TRUST
     5     FUNDS described above, by failing to apply such assets for the exclusive benefit of
     6     participants and beneficiaries of the TRUST FUNDS, and instead using those assets
     7     for their own benefit, EMPLOYERS, HERNANDEZ, SOTO and/or DOE 1 to DOE
     8     5, inclusive, breached their fiduciary duties to the TRUST FUNDS within the meaning
     9     of sections 404(a)(1)(A), (B) and (D), of ERISA, 29 U.S.C. §§ 1104(a)(1)(A), (B) and
   10      (D).
   11             51.   Plaintiff is informed and believes and thereon alleges that the acts and
   12      omissions to act by EMPLOYERS, HERNANDEZ, SOTO and/or DOE 1 to DOE 5,
   13      inclusive, constitute misuse, misappropriation and/or conversion from employee
   14      benefit plans within the meaning of 18 U.S.C. § 664 and breach of their fiduciary
   15      obligations within the meaning of 29 U.S.C. § 1104 through §1106.
   16             52.   Pursuant to § 409 of ERISA, 29 U.S.C. § 1109, EMPLOYERS,
   17      HERNANDEZ, SOTO and/or DOE 1 to DOE 5, inclusive, are personally liable to
   18      make good to the TRUST FUNDS any losses to them resulting from each such
   19      breaches of their fiduciary duties, and to restore to the TRUST FUNDS any profits
   20      which have been made through their use of these assets of the TRUST FUNDS.
   21      Plaintiff seeks an accounting from EMPLOYERS, HERNANDEZ, SOTO and/or DOE
   22      1 to DOE 5, inclusive, of the amount and disposition of these assets.
   23             53.   Plaintiff requests that it be awarded its costs and reasonable attorney's
   24      fees pursuant to § 502(g)(1) of ERISA, 29 U.S.C. § 1132(g)(1), and such other
   25      remedies as may be available pursuant to ERISA §§ 409(a) and 502(a)(2), 29 U.S.C.
   26      §§ 1109(a) and 1132(a)(2).
   27      //
   28      //
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     1                             FIFTH CLAIM FOR RELIEF
     2                  FOR MONETARY DAMAGES FOR BREACH OF
     3                            SETTLEMENT AGREEMENT
     4                      (AGAINST KINETIC AND HERNANDEZ)
     5
     6           54.    Plaintiff repeats, realleges and incorporates by reference each and every
     7     allegation contained in paragraphs 1 through 30, above as if fully set forth herein.
     8           55.    The TRUST FUNDS, KINETIC and HERNANDEZ entered into a
     9     conditional settlement ("Settlement Agreement") with respect to the known amounts
   10      owed by KINETIC on Monthly Reports by KINETIC submitted without full payment
   11      for time periods from August 2017 to October 2017 which totaled $35,924.47 within
   12      interest through November 29, 2017 ("Claim"). In and by the terms of the Settlement
   13      Agreement, the TRUST FUNDS agreed to a payment arrangement with KINETIC and
   14      HERNANDEZ upon compliance with express conditions set forth in the Settlement
   15      Agreement.
   16            56.    Under the express terms of the Settlement Agreement, the following
   17      constitutes a default and/or breach of the Settlement Agreement by KINETIC and
   18      HERNANDEZ: (1) failure to timely remit payment of the monthly payments as
   19      provided for by the terms of the Settlement Agreement; (2) failure to comply with
   20      KINETIC’S obligations under the terms of the Agreements to timely submit Monthly
   21      Reports disclosing all of the hours worked by employees for which Monthly
   22      Contributions are due with payment of the Monthly Contributions due; and (3) failure
   23      to comply fully with an audit of KINETIC’S records.
   24            57.    KINETIC and HERNANDEZ breached the Settlement Agreement by
   25      failing to (1) make all monthly payments due under the provisions of the Settlement
   26      Agreement; (2) by failing to timely submit timely Monthly Reports with full payment
   27      of the amounts due commencing with its January 2018 Monthly Report and the
   28      Monthly Reports thereafter for time periods through February 2019 are unpaid or not
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     1     fully paid; and (3) the partial audits of KINETIC’S records has disclosed reporting
     2     violations.
     3           58.     KINETIC and HERNANDEZ, individually, jointly and severally agreed
     4     to be liable for the $35,924.47 plus interest at the plan rate(s) due under the terms of
     5     the Settlement Agreement in consideration of the payment arrangement to satisfy the
     6     total amount due under the terms of the Settlement Agreement if successfully
     7     completed.
     8           59.     As a result of KINETIC’S and HERNANDEZ’S breach of the Settlement
     9     Agreement, the conditions in the Settlement Agreement were not met and the
   10      Settlement Agreement does not bar collection of any unsatisfied amounts of that
   11      delinquency by any lawful means; therefore, under the terms of the Settlement
   12      Agreement, the full amount of the Claim, upon breach, became immediately due and
   13      owing by the KINETIC and HERNANDEZ to the TRUST FUNDS, plus interest at the
   14      TRUST FUNDS' plan rate(s) after November 29, 2017. The amount due by the
   15      KINETIC and HERNANDEZ for their breach of the Settlement Agreement is
   16      $5,770.25 with interest to March 27, 2019 plus additional interest thereafter which
   17      has continued to accrue at the plan rate(s) until fully paid. Any and all conditions to
   18      KINETIC’S and HERNANDEZ’S obligations under the Settlement Agreement to pay
   19      this amount have been met.
   20            60.     Under the terms of the Settlement Agreement, Plaintiff is entitled to an
   21      award of its attorneys’ fees and costs.
   22
   23                               SIXTH CLAIM FOR RELIEF
   24                  AGAINST STATE CONTRACTORS LICENSE BOND
   25                                   (AGAINST HUDSON)
   26
   27            54.     Plaintiff repeats and realleges and incorporates herein by reference each
   28      and every allegation contained in paragraphs 1 through 35, as if fully set forth.
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     1           55.    Pursuant to various provisions of the Business and Professions Code,
     2     EMPLOYERS obtained from HUDSON, bond number 30024551 ("BOND") and filed
     3     the BOND with the Registrar of the California State Contractors License Board in the
     4     penal sum as required by statute and in favor of the State of California.
     5           56.    TRUST FUNDS, as assignee of the various laborers' claims for recovery
     6     of the benefit portion of their wages, falls within the class or classes of claimants as
     7     set forth in California Business and Professions Code §§ 7071.5, 7071.10 and Civil
     8     Code § 8024(b), and is a beneficiary of the BOND.
     9           57.    Pursuant to the terms of its bonds, and provisions of California Business
   10      and Professions Code, HUDSON is responsible for paying up to the penal sum of said
   11      bonds to the TRUST FUNDS for the unpaid contribution owed on behalf of
   12      KINETIC’S employees.
   13
   14            WHEREFORE, Plaintiff prays for judgment against Defendants as
   15      follows:
   16
   17                       ON PLAINTIFF’S FIRST CLAIM FOR RELIEF
   18            1.     For $91,749.05 in unpaid Monthly Contributions, as required by the
   19      Agreements and 29 U.S.C. § 1132(g)(2)(A).
   20            2.     For $19,148.08 in interest (through March 28, 2019) on unpaid or late
   21      paid Monthly Contributions at the rate of five percent above the variable prime rate set
   22      by the Federal Reserve Board of San Francisco, California, plus such additional
   23      interest that has or does thereafter accrues as required by the Agreements and
   24      29 U.S.C. § 1132(g)(2)(B).
   25            3.     For $35,503.73 in liquidated damages for each month of unpaid or late-
   26      paid Monthly Contributions at, for each of the TRUST FUNDS separately, the greater
   27      of 20% or $25 (except with respect to the Laborers Contract Administration Trust
   28      Fund for Southern California, for which liquidated damages are sought at the greater
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     1     10% or $20), as required by the Agreements and 29 U.S.C. § 1132(g)(2)(C).
     2           4.    For subcontracting violations is the sum of $127,109.71;
     3           5.    For $105.00 in insufficient funds check fees, as required by the
     4     Agreements and provided under 29 U.S.C. § 1132(g)(2)(E).
     5           6.    For $2,920.00 in audit fees;
     6           7.    For, according to proof, any additional Monthly Contributions, interest,
     7     liquidated damages, audit fees, fees incurred by the TRUST FUNDS as a result of the
     8     submission of checks not honored by the bank upon which they were drawn, and
     9     amounts owed as a result work performed by any subcontractors of the
   10      EMPLOYERS (or lower-tier subcontractors) determined to be due, pursuant to the
   11      Agreements and 29 U.S.C. §§ 1132(g)(2) and 1145.
   12            8.    For reasonable attorneys’ fees and costs of suit, as required by the
   13      Agreements and 29 U.S.C. § 1132(g)(2)(D).
   14            9.    For such other relief that this Court deems appropriate, pursuant to any
   15      authority of the Court, including but not limited to the authority established by
   16      29 U.S.C. §§1132(g)(2)(E) and 1132(a)(3).
   17
   18                     ON PLAINTIFF’S SECOND CLAIM FOR RELIEF
   19            1.    For the issuance of injunctive relief pursuant to the Agreements and
   20      29 U.S.C. §§ 1132(g)(2)(E) and/or 1132(a)(3) ordering KINETIC and INTERSTATE
   21      and their managing officers, managing employees, agents and successors, including
   22      HERNANEZ and SOTO, as well as all those in active concert or participation with
   23      any one or more of them, to submit to an audit of the KINETIC’s and
   24      INTERSTATE’s records, to fully cooperate with Plaintiff with respect to the audit in
   25      order for Plaintiff to determine the total amount due to the TRUST FUNDS by the
   26      KINETIC and INTERSTATE, and, specifically, to produce to Plaintiff the following
   27      payroll and business records – and any other records determined by Plaintiff to be
   28      necessary to conduct a full audit – for inspection, examination and copying covering
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     1     the period from November 2016 to the date of the audit:
     2                       1.1.   All of KINETIC’s and INTERSTATE’s payroll and
     3                 employee records, as well as any other records that might be relevant to a
     4                 determination of the work performed by the KINETIC and
     5                 INTERSTATE, its employees, its subcontractors, its lower-tier
     6                 subcontractors and the employees of the KINETIC’s and
     7                 INTERSTATE’s subcontractors and lower-tier subcontractors, including
     8                 but not limited to payroll journals, employee earnings records, certified
     9                 payroll records, payroll check books and stubs, cancelled payroll checks,
   10                  payroll time cards and state and federal tax returns (and all other state and
   11                  federal tax records), as well as labor distribution journals and any other
   12                  records that might be relevant to an identification of the employees who
   13                  performed work for KINETIC and INTERSTATE, their subcontractors or
   14                  lower-tier subcontractors, or which might be relevant to a determination
   15                  of the projects on which the KINETIC and INTERSTATE, its employees,
   16                  its subcontractors, lower-tier subcontractors or the employees of its
   17                  subcontractors or lower-tier subcontractors performed work, including
   18                  any records that provide the names, addresses, Social Security numbers,
   19                  job classification or the number of hours worked by any one or more
   20                  employee;
   21                        1.2.   All of the KINETIC’s and INTERSTATE’s job files for
   22                  each contract, project or job on which the KINETIC and INTERSTATE,
   23                  and their employees, subcontractors, lower-tier subcontractors or the
   24                  employees of their subcontractors or lower-tier subcontractors worked,
   25                  including but not limited to all correspondence, agreements and contracts
   26                  between KINETIC and INTERSTATE and any general contractor,
   27                  subcontractor, owner, builder or developer, as well as all field records,
   28                  job records, notices, project logs, supervisors' diaries and notes,
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     1            employees' diaries and notes, memoranda, releases and any other records
     2            that relate to the supervision of the KINETIC’s and INTERSTATE’s
     3            employees, their subcontractors, its lower-tier subcontractors or the
     4            employees of its subcontractors and lower-tier subcontractors, or the
     5            projects on which KINETIC’s and INTERSTATE’s employees,
     6            subcontractors, lower-tier subcontractors or the employees of their
     7            subcontractors or lower-tier subcontractors performed work;
     8                  1.3.   All of KINETIC’s and INTERSTATE’s records related to
     9            cash receipts, including but not limited to KINETIC’s and
   10             INTERSTATE’s cash receipts journals, accounts receivable journals,
   11             accounts receivable subsidiary ledgers and billing invoices for all
   12             contracts, projects and jobs on which KINETIC’s and INTERSTATE’s
   13             employees, subcontractors, lower-tier subcontractors or the employees of
   14             their subcontractors or lower-tier subcontractors performed work;
   15                   1.4.   All of KINETIC’s and INTERSTATE’s bank statements,
   16             including but not limited to those for all checking, savings and
   17             investment accounts;
   18                   1.5.   All of KINETIC’s and INTERSTATE’s records related to
   19             disbursements, including but not limited to vendors' invoices, cash
   20             disbursement journals, accounts payable journals, check registers and all
   21             other records which indicate disbursements;
   22                   1.6.   All collective bargaining agreements between KINETIC,
   23             INTERSTATE and any trade union, and all records of contributions by
   24             the EMPLOYERS to any trade union trust fund; and
   25                   1.7.   All records related to the formation, licensing, renewal or
   26             operation of the KINETIC and INTERSTATE.
   27                   1.8    All documents, records, other writings, including contracts,
   28             agreements, invoices, pertaining to transfers of work, employees,
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     1                  equipment, contracts, subcontracts between KINETIC and
     2                  INTERSTATE, and/or use of each others’ employees, equipment,
     3                  contracts, subcontracts to perform work.
     4                        1.9 All documents, records, other writings, certificates of titles
     5                  relating to the ownership of equipment, and vehicles used by KINETIC
     6                  and INTERSTATE in performance of their construction work on
     7                  projects.
     8           2.     For reasonable attorneys’ fees and costs of suit, as required by the
     9     Agreements and provided for under 29 U.S.C. § 1132(g)(1) and/or (g)(2).
   10            3.     For such other relief that this Court deems appropriate, pursuant to any
   11      authority of the Court, including but not limited to the authority established by
   12      29 U.S.C. §§ 1132(g)(2)(E) and 1132 (a)(3).
   13
   14                       ON PLAINTIFF'S THIRD CLAIM FOR RELIEF
   15            1.     For the issuance of injunctive relief pursuant to the Agreements and
   16      29 U.S.C. §§ 1132(g)(2)(E) and/or 1132(a)(3) ordering the KINETIC, INTERSTATE
   17      and their managing officers, managing employees, agents and successors, including
   18      HERNANDEZ and SOTO, as well as all those in active concert or participation with
   19      any one or more of them, to deliver, or cause to be delivered, the following to the
   20      TRUST FUNDS' offices no later than 4:30 p.m. on the 20th day of each month for the
   21      duration of the Agreements:
   22                         1.1.   Truthfully and accurately completed Monthly Report(s)
   23                   covering all of the accounts with the TRUST FUNDS in existence at the
   24                   time of delivery, collectively identifying all persons for whom Monthly
   25                   Contributions are owed to the TRUST FUNDS for work by those persons
   26                   for KINETIC and INTERSTATE for the previous month and their Social
   27                   Security numbers, and, itemized by person and project, the hours of work
   28                   performed for which Monthly Contributions are due;
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     1                        1.2.   An affidavit or declaration from a managing officer or other
     2                  managing agent of the EMPLOYERS attesting under penalty of perjury
     3                  to the completeness, truthfulness and accuracy of each Monthly Report
     4                  submitted; and
     5                        1.3.   A cashier's check or checks made payable to the
     6                  "Construction Laborers Trust Fund for Southern California" totaling the
     7                  full amount of Monthly Contributions due to the TRUST FUNDS for the
     8                  previous month (as set forth on the Monthly Report(s) submitted).
     9           2.     For reasonable attorneys’ fees and costs of suit, as required by the
   10      Agreements and provided for under 29 U.S.C. § 1132(g)(1) and/or (g)(2).
   11            3.     For such other relief that this Court deems appropriate, pursuant to any
   12      authority of the Court, including but not limited to the authority established by
   13      29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3).
   14
   15                     ON PLAINTIFF'S FOURTH CLAIM FOR RELIEF
   16            1.     For unpaid Monthly Contributions according to proof, including but not
   17      limited to Monthly Contributions due to the Vacation Fund and Monthly
   18      Contributions due on public works projects owed on behalf of employees as well as
   19      other damages, and an accounting of all assets of the TRUST FUNDS which have not
   20      been turned over to the TRUST FUNDS, and any profits derived by the
   21      EMPLOYERS and HERNANDEZ, SOTO and DOE 1 through DOE 5;
   22            2.     For personal liability of the EMPLOYERS, HERNADEZ, SOTO, and
   23      DOE 1 through DOE 5, for their breaches of fiduciary duty, pursuant to ERISA §
   24      409(a), 29 U.S.C. § 1109(a);
   25            3.     For reasonable attorneys' fees and costs of suit pursuant to § 502(g)(1) of
   26      ERISA, 29 U.S.C. § 1132(g)(1); and
   27            4.     For such other and further relief as the Court deems proper and just,
   28      pursuant to ERISA §§ 409(a) and 502(a)(2), 29 U.S.C. §§ 1109(a) and 1132(a)(2).
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     1                      ON PLAINTIFF’S FIFTH CLAIM FOR RELIEF
     2           1.     For $5,770.25 pursuant to the Settlement Agreement and applicable law,
     3     including but not limited to California Civil Code § 3302;
     4           2.     For an additional accrued interest at the TRUST FUNDS' plan rate(s),
     5     currently 8.0% per annum after March 27, 2019 pursuant to terms of the Settlement
     6     Agreement and applicable law, including but not limited to California Civil Code
     7     §§ 3287, 3289 and 3302.
     8           3.     For attorneys’ fees and costs of collection, pursuant to the Settlement
     9     Agreement and applicable law, including but not limited to California Civil Procedure
   10      Code § 1032(b) and California Civil Code § 1717.
   11            4.     For such other relief that this Court deems appropriate, pursuant to any
   12      authority of the Court, including, but not limited to, the authority established by
   13      29 U.S.C. §§ 1132(g)(2)(E) and 1132 (a)(3)(B).
   14
   15                       ON PLAINTIFF’S SIXTH CLAIM FOR RELIEF
   16            1.     For at least $4,000.00 from HUDSON on its BOND, plus interest at the
   17      legal rate per annum from the date contributions became due;
   18            2.     For the costs of suit herein;
   19            3.     For reasonable attorneys' fees;
   20            4.     For such other and further relief as the Court deems just and proper.
   21      DATED: March 29, 2019                   REICH, ADELL & CVITAN
                                                   A Professional Law Corporation
   22
   23
                                                   By:     /s/ Marsha M. Hamasaki
   24
                                                              MARSHA M. HAMASAKI
   25                                                         Attorneys for Plaintiff
   26
   27
   28
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